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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                Eastern District
                                              __________ Districtofof
                                                                   Louisiana
                                                                      __________

                  United States of America                      )
                             v.                                 )
                                                                )      Case No.
                                                                )                 22-110 MAG
               RENE LADMIRAULT III                              )
                                                                )
                                                                )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 July 15, 2022               in the county
                                                                              parish of               Orleans            in the
      Eastern          District of        Louisiana         , the defendant(s) violated:

            Code Section                                                  Offense Description
18 U.S.C. § 922(o)                           Possession of machine gun




         This criminal complaint is based on these facts:
See attached Affidavit.




         ✔ Continued on the attached sheet.
         u

                                                                                           /s/ Matthew Strickland
                                                                                           Complainant’s signature

                                                                                Special Agent Matthew Strickland, FBI
                                                                                            Printed name and title

Sworn to before me and signed in my presence.


Date:           8/9/22
                                                                                              Judge’s signature

City and state:                   New Orleans, Louisiana                 Honorable Dana M. Douglas, U.S. Magistrate Judge
                                                                                            Printed name and title
                                                                                                                     x    2cc: USM
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 IN THE MATTER OF THE CRIMINAL                   *
 COMPLAINT AND APPLICATION
 FOR AN ARREST WARRANT FOR                       *
 RENE LADMIRAULT III
                                                 *

                                          *      *      *

                                          AFFIDAVIT
       I, Matthew Strickland, a Special Agent with the Federal Bureau of Investigation, being first

duly sworn, do hereby depose and state that the following information is true to the best of my

knowledge and belief:

                     INTRODUCTION AND AGENT BACKGROUND
       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”). I am

currently assigned to the New Orleans Violent Crime Task Force (“Task Force”). In that role my

primary duties involve investigating fugitive matters, armed robberies, extortions, gang activity,

violent offenses, and drug trafficking. I started my law enforcement career as a patrolman in

Hattiesburg, Mississippi from 2016 to 2019. In that position, I effectuated hundreds of arrests and

conducted a variety of investigations. I accepted a position with the FBI in October of 2019 and

attended five months of Special Agent training in Quantico, Virginia. Since then, I have been

assigned to the New Orleans Field Office.

       2.      I make this affidavit in support of securing a criminal complaint against RENE

LADMIRAULT, III (“LADMIRAULT’), date of birth 01/01/2002, for violations of Title 18

U.S.C. Sections 922(o) and 924(a)(2) (illegal possession of machine guns), and Title 18, United

States Code, Section 922(a)(1)(A) (engaging in the business of dealing firearms without a license).
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       3.      The information contained in this Affidavit is based on my personal knowledge as

well as information provided to me by other agents and witnesses.

       4.      Because this affidavit is being submitted for the limited purpose of securing a

criminal complaint, I have not set forth each and every fact known to me concerning this

investigation. I have included the facts that I believe are sufficient to establish probable cause of

the alleged offenses.

                                      PROBABLE CAUSE
       1.      Beginning in January 2022, the FBI New Orleans Violent Crime Task Force and

the NOPD Violent Crime Abatement Investigation Team initiated an investigation into the

proliferation of Glock auto switches within the Eastern District of Louisiana, specifically, the area

of Greater New Orleans. Investigators identified an individual, hereinafter referred to as Target-1,

in possession of auto switches. Target-1 utilized his/her Instagram social media account to post

photographs and videos of himself/herself the auto switches.

       2.        Target-1 continued to post numerous photographs and videos to his/her Instagram

account with him/her in possession of a Glock firearm, with what appeared to be an auto switch

attached to the firearm. In an effort to further its investigation, NOPD detectives obtained a

Louisiana state search warrant for Target-1’s Instagram account.

       3.       Upon executing the Instagram search warrant, NOPD detectives located numerous

photographs of Target-1 in possession of firearms and controlled substances. Additionally,

detectives observed Instagram messages from Target-1 indicating that he/she wanted to purchase

additional auto switches.

       4.       In February 2022, NOPD identified an individual (referred hereafter as Target-2)

who appeared to be negotiating the sale of an auto switch to Target-1. Target-1 and Target-2

utilized Instagram to negotiate the transaction. In sum, Target-2 told Target-1 that he/she knew

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someone who would have “switches” for sale. Based on my training and experience, I know that

“switches” is a commonly used slang term used to reference Glock auto switches. Based on the

aforementioned communication, NOPD detectives elected to obtain a Louisiana state court search

warrant for the Instagram account associated with Target-2.

       5.     Upon executing the search warrant of Target-2’s Instagram account, NOPD

detectives observed several conversations in which Target-2 discussed selling auto switches. One

individual whom Target-2 communicated with was an Instagram user with the Instagram handle

name “onlyscrew.” In sum, “onlyscrew” told Target-2 that he manufactured metal Glock switches

and auto sears. Target-2 and “onlyscrew” discussed the prices of switches and sears.

       6.     During one communication, “onlyscrew” provided his telephone number to Target-

2. “Onlyscrew” provided Target-1 with telephone number xxx-xxx-2508. A phone number search

conducted by investigators revealed that telephone number xxx-xxx-2508 was serviced by AT&T

Mobility telephone number and registered to LADMIRAULT.

       7.     On July 15, 2022, the NOPD obtained a search warrant for LADMIRAULT’s

Instagram account from a magistrate judge in Orleans Parish Criminal District Court. Upon

executing the search warrant and reviewing LADMIRAULT’s Instagram, detectives observed

numerous photographs and videos posted by LADMIRAULT.                 LADMIRAULT was in

possession of auto switches. These posts corroborated communications between LADMIRAULT

and Target-2 wherein LADMIRAULT identified himself as a manufacturer and seller of auto

switches.




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       8.       In an Instagram post dated July 12, 2022, LADMIRAULT negotiated the sale of

auto switches with a purchaser. See Image A. The purchaser’s request is depicted in white.

LADMIRAULT’s responses are depicted in blue.




                                             Image A

       The communication between LADMIRAULT and the purchaser in Image A corroborates

your affiant’s belief that LADMIRAULT illegally sells and possesses auto switches. In addition

to the plain text of Image A in which LADMIRAULT expressly states that his willingness to sell

the purchaser auto switches, your affiant believes that the phrase “All day they be tweakin,” is

used by LADMIRAULT, to mean that LADMIRAULT receives requests daily to sell auto

switches. Additionally, your affiant observed that the purchaser differentiated his request for auto




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switches and “ar switches.” Your affiant knows that “ar switches” is a commonly used term for

auto sears.

       9.      Your affiant has also observed videos obtained from LADMIRAULT’s Instagram

account that support your affiant’s belief that LADMIRAULT illegally manufactures auto

switches. LADMIRAULT’s Instagram account features numerous videos of two devices known

by your affiant to be devices used to manufacture auto switches. Your affiant knows that these

devices, known as a CNC milling machine and a 3D printer, are utilized by illegal manufactures

to make auto switches. Your affiant has provided a July 2, 2022, screenshot of one of the videos

taken from LADMIRAULT’s Instagram page, showing the CNC milling machine and 3D printer.

See Image B.




                                            Image B


                                               5
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       Your affiant observed that LADMIRAULT captioned the photograph with the statement,

“I need my own workshop ima order another machine tomorrow.” Your affiant interprets this

caption to mean that LADMIRAULT is utilizing the CNC milling machine and the 3D printer to

manufacture auto switches.

       10.     Your affiant also observed a video from LADMIRAULT’s Instagram account,

dated June 28, 2022, in which LADMIRAULT was in possession of a Glock firearm with an auto

switch affixed to the gun. The silver in color auto switch can clearly be seen affixed to the gun.

See Image C.




                                                Image C


                                                6
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       LADMIRAULT captioned the video with a reference to the “switch.”                In the video,

LADMIRAULT references a song by rap artist Lil Durk in which he raps about the use of a “switch” as a

fully automatic weapon. LADMIRAULT’s post states, “I been tappin that bitch for he made that song.”

Your affiant interpreted this statement to mean that LADMIRAULT is familiar with utilizing auto

switches.


       11.     The aforementioned video also shows LADMIRAULT exiting his vehicle and

firing the Glock firearm. The video shows the firearm operating as a fully automatic firearm. Your

affiant is familiar with auto switches and has personally observed how a Glock firearm fires when

a Glock switch is attached to the firearm. Based upon my review of the video, it appears that

LADMIRAULT was firing a Glock pistol affixed with an auto switch given the number of casings

ejected from the Glock firearm with a single pull of the trigger. See Image D.




                                              Image D

                                                 7
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                                         CONCLUSION

        Based on the above information, your affiant believes that there is probable cause to

believe that LADMIRAULT violated Title 18 U.S.C. Sections 922(o) and 924(a)(2) (illegal

possession of machine guns), and Title 18, United States Code, Section 922(a)(1)(A) (engaging in

the business of dealing firearms without a license). Your Affiant swears that the aforementioned

information is true and correct to the best of his knowledge.

                                             Respectfully submitted,

                                             /s/ Matthew Strickland
                                             Matthew Strickland, Special Agent
                                             Federal Bureau of Investigations

Pursuant to Federal Rules of Criminal Procedure 4.1 and 41(d)(3), the undersigned judicial officer
has on this date considered the information communicated by reliable electronic means in
considering whether a complaint, warrant, or summons will issue. In doing so, I have placed the
affiant under oath, and the affiant has confirmed that the signatures on the complaint, warrant, or
summons and affidavit are those of the affiant, that the document received by me is a correct and
complete copy of the document submitted by the affiant, and that the information contained in the
complaint, warrant, or summons and affidavit is true and correct to the best of the affiant’s
knowledge.


Subscribed to and sworn before me,
      9th of August, 2022.
this ______
New Orleans, Louisiana


__________________________________________
HONORABLE DANA M. DOUGLAS
UNITED STATES MAGISTRATE JUDGE




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